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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
___________________________________
                                       )
COMMUNITY ONCOLOGY ALLIANCE, INC.     )
                                       )
        Plaintiff,                    )
                                       )
     v.                                )    Civil Action No.
                                       )    20-3604 (EGS)
U.S. DEPARTMENT OF HEALTH AND          )
HUMAN SERVICES et al                  )
        Defendants,                    )
___________________________________)

           STANDING ORDER GOVERNING CIVIL CASES BEFORE
                      JUDGE EMMET G. SULLIVAN

     This Standing Order governs all civil cases assigned to

Judge Emmet G. Sullivan. All counsel and pro se litigants are

HEREBY ORDERED to comply with this Standing Order. Failure to

comply with this Standing Order may result in the imposition of

sanctions when appropriate.

     1. Local Rules

        Counsel and pro se litigants are expected to comply with

        the Local Civil Rules of this Court. The Rules are

        available online at http://www.dcd.uscourts.gov/court-

        info/local-rules-and-orders/local-rules or in paper copy

        upon request from the Clerk’s Office.

     2. Service of Standing Order

        If this Standing Order is entered on the docket prior to

        the appearance of defendant(s), the plaintiff(s), except

        for in forma pauperis plaintiffs, shall ensure that all
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  parties receive a copy of this Standing Order by serving

  it with the Complaint, or providing it promptly following

  service of the Complaint.

3. Communications with Chambers

     a. Ex parte communication with Judge Sullivan – either

        directly or through his law clerks – is

        inappropriate. Chambers does not accept ex parte

        telephone calls.

     b. Parties are to communicate with the Court in writing

        by motion, opposition, and reply; not by letter or

        telephone call. This includes, but is not limited

        to, inquiries regarding the status or scheduling of

        any pending matter, or inquiries regarding the

        clarification of Court Orders.

     c. In an extraordinary circumstance or actual

        emergency, counsel may contact chambers via

        telephone only if all counsel/pro se parties are on

        the call. If all parties are not on the call in such

        a circumstance, the parties shall contact Mr. Mark

        Coates, the Courtroom Deputy Clerk, at (202) 354-

        3364, or if he is unavailable, the staff person in

        the Clerk’s Office designated as his substitute.

     d. Documents may not be sent via facsimile or email to

        chambers unless expressly requested by the Court.

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        In that circumstance, the parties shall contact Mr.

        Mark Coates, the Courtroom Deputy Clerk, at (202)

        354-3364, or if he is unavailable, the staff person

        in the Clerk’s Office designated as his substitute,

        for instructions.

4. Case Management/Electronic Case Files (CM/ECF) System

  Chambers does not assist with questions regarding CM/ECF;

  inquiries shall be directed to the CM/ECF Help Line at

  (202) 354-3190.

5. Removed Actions

  A defendant removing an action to this Court must refile

  as a supplement to the petition any answer and must

  promptly ensure that all parties receive a copy of this

  Standing Order. Any pending motion at the time of removal

  must be refiled in this Court by the party seeking relief

  for the motion to be considered. See Fed. R. Civ. P.

  81(c)(2).

6. Courtesy Copies

  a. Unless otherwise ordered, when any filing numbers 50

     pages or more in total length, including exhibits, the

     party making the filing shall have delivered to

     Chambers two (2) printed courtesy copies via overnight

     mail or hand delivered to the Courthouse loading dock

     located at the corner of 3rd and C Streets, NW. The

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     courtesy copies must include the headers added by the

     Case Management/Electronic Case Files (CM/ECF) System

     and be submitted in binders, three-hole punched, with

     single-sided pages. Exhibits shall be tabbed and

     indexed for ease of reference. Pro se, in forma

     pauperis, and incarcerated plaintiffs are excused from

     providing courtesy copies.

  b. For filings that do not exceed 50 pages or more in

     total length, courtesy copies shall not be submitted

     to Chambers unless ordered by the Court. See also

     “Motions Generally” below.

7. Amended Submissions

  Any amended submissions shall be accompanied by a redline

  comparison of the original and amended pleading.

8. Motions to Dismiss

     a. Federal Rule of Civil Procedure 15(a) allows a

        plaintiff to amend a complaint, inter alia, within

        21 days of the defendant’s service of a motion to

        dismiss pursuant to Rule 12(b), (e) or (f). The

        Advisory Committee Notes to the 2009 Amendment

        explain the purpose of this rule:

           This provision will force the pleader to
           consider carefully and promptly the
           wisdom of amending to meet the arguments
           in the motion. A responsive amendment may
           avoid the need [for the Court] to decide

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           the motion or reduce the number of issues
           to   be  decided,   and   will   expedite
           determination of issues that otherwise
           might be raised seriatim. It also should
           advance other pretrial proceedings.

        Plaintiffs are therefore DIRECTED to carefully

        consider arguments raised in a motion to dismiss and

        correct defects through an amended complaint as

        allowed under Rule 15(a).

     b. If a motion to dismiss presents matters outside of

        the pleadings, it may be converted to a motion for

        summary judgment. In this situation, all parties

        must comply with the instructions set forth below

        regarding motions for summary judgment.

9. Meet and Confer Report

     a. The parties shall meet and confer as required by

        Federal Rule of Civil Procedure 26(f) and Local

        Civil Rule 16.3. Unless otherwise ordered by the

        Court, by no later than 30 days after any defendant

        has filed an answer, or by no later than 14 days

        after the Court resolves any motion brought pursuant

        to Federal Rule of Civil Procedure 12(b), the

        parties shall submit to the Court a report and a

        proposed scheduling order as required by Local Civil

        Rule 16.3. In addition to reporting on the matters

        required by Local Civil Rule 16.3, counsel shall

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        include in their report a brief statement of the

        case. In considering what form of alternative

        dispute resolution the parties think the case most

        suited to, counsel are reminded that among their

        options are mediation, arbitration, early neutral

        evaluation, summary jury trial, or any other form of

        alternative dispute resolution which can be tailored

        to the needs of their case.

      b. The Court will issue a separate order in cases

        exempt from Local Civil Rule 16.3.

10.   Discovery Disputes

  Before involving the Court in a discovery dispute, the

  parties must confer in good faith to attempt to resolve

  the dispute between themselves. If the parties are unable

  to resolve the discovery dispute, they shall jointly

  contact Mr. Mark Coates, the Courtroom Deputy Clerk, at

  (202) 354-3364, or if he is unavailable, the staff person

  in the Clerk’s Office designated as his substitute, to

  arrange for a telephone conference with the Court. The

  conference will be held on the record. The parties shall

  not file any motions relating to a discovery dispute

  without leave of the Court. The Court may refer discovery

  disputes to a Magistrate Judge for resolution.




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11.   Motions for Extension of Time

  Extensions or enlargements of time will only be granted

  upon motion, and not upon stipulation by the parties.

  Absent extenuating circumstances, motions for a

  continuance or other scheduling change must be filed

  three business days prior to the scheduled hearing or

  other deadline and must include alternative dates that

  have been agreed to by all parties. Requests that do not

  include an alternative date acceptable to all parties may

  be denied.

12.   Motions Generally

      a. Format. All submissions to the Court shall be

        single-sided (when printed), double spaced, and use

        12-point Times New Roman font and one inch page

        margins.

      b. Tables. Every memorandum of points and authorities

        that is ten pages or longer must contain a table of

        contents and table of authorities, regardless of

        whether it is in support of or in opposition to a

        motion.

      c. Indexes. Every submission that attaches more than
         one exhibit shall contain an index of exhibits.




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13. Motions for Summary Judgment Not Solely Based on
    Review of the Administrative Record

     a. Pursuant to Local Civil Rule 7(h)(1), the moving

        party shall include a separate document entitled

        Statement of Material Facts Not in Dispute. This

        document shall be formatted as a two-column table.

        In the left column, the moving party shall list in

        separately numbered rows concise statements of each

        material fact it contends is not in dispute,

        supported by appropriate citations to the record.

        The statement must contain only one undisputed

        factual assertion per numbered row.

     b. Following the filing of this document with the

        Court, the moving party shall promptly provide an

        electronic copy in editable format to the opposing

        party.

     c. In response, the opposing party shall file a

        separate document entitled Counter-Statement of

        Disputed Facts. The opposing party shall indicate in

        the right column whether each corresponding fact in

        the left column is admitted or denied, and for those

        denied, provide appropriate citations to the record.

        If the fact is admitted in part and denied in part,

        the opposing party shall specifically identify which



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       parts are admitted and which are denied, with

       appropriate citations to the record.

    d. If the opposing party has additional facts that are

       not directly relevant to its response to a specific

       paragraph, it must identify such facts in

       consecutively numbered rows in the right hand column

       at the end of its responsive statement of facts.

    e. At the end of the Counter-Statement of Disputed

       Facts, the opposing party shall list the material

       facts as to which the opposing party contends there

       is a genuine issue of material fact for trial.

    f. Following the filing of this document with the

       Court, the opposing party shall promptly provide an

       electronic copy in editable format to the moving

       party.

    g. In response, the moving party shall file a separate

       document entitled Reply to Counter-Statement of

       Disputed Facts, responding with appropriate

       citations in the left column to the additional

       facts.

    h. The parties are cautioned that failure to comply

       with this requirement may result in the denial of

       the motion without prejudice or may result in the




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             Court concluding that facts are not properly

             controverted and thus undisputed.

           i. Sample statements are provided in the Attachment to

             this Standing Order.

     14.   Settlement

           Counsel shall promptly notify the Court if a case

           settles in whole or in part. Upon receipt of a notice

           of settlement that is not accompanied by a stipulation

           of dismissal, the Court may dismiss the case subject

           to a motion for reconsideration by a date certain.

     SO ORDERED.

Signed:    Emmet G. Sullivan
           United States District Judge
           December 14, 2020




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